                           UNITED STATES DISTRICT COURT
                                                                                      Aug 04, 2022
                           WESTERN DISTRICT OF KENTUCKY
                                   AT LOUISVILLE

UNITED STATES OF AMERICA                    )
                                            )
       v.                                   )       No.    3:22CR-86-DJH
                                                          ____________________
                                            )
                                            )             18 U.S.C. § 371
                                            )
KELLY GOODLETT,                             )
                                            )
       Defendant.                           )

                                INFORMATION

       The United States charges that:
                                          Introduction

       At times material to this Information:


       1.     Breonna Taylor was a 26-year-old woman from Louisville, Kentucky, who, as of

March 2020, had lived for several years at 3003 Springfield Drive, Apartment 4.

       2.     The Louisville Metro Police Department (LMPD) in late 2019 had formed a unit

called Place-Based Investigations (PBI). In early 2020, PBI was investigating alleged narcotics

trafficking that was centered in the West End area of Louisville, approximately 10 miles away

from Taylor’s home.

       3.     KELLY GOODLETT was a detective in the PBI unit who, as of early 2020, had

worked for LMPD for approximately 8 years.

       4.     KYLE MEANY was an LMPD sergeant who supervised the PBI unit. He had been

employed as an LMPD officer since 2013.

       5.     JOSHUA JAYNES was a detective in the PBI unit who, as of early 2020, had

worked at LMPD for approximately 15 years.

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       6.      On March 12, 2020, PBI obtained warrants to search five properties. These

included four properties in Louisville’s West End neighborhood that were allegedly used in drug

trafficking, as well as Taylor’s home at 3003 Springfield Drive, Apartment 4 (the Springfield Drive

warrant). The primary target of the investigation was J.G., a man who had been previously arrested

for committing drug offenses.

       7.      On March 13, 2020, at approximately 12:45 a.m., LMPD officers who had not been

involved in drafting the search warrant and who were unaware of the false statements in it executed

the warrant at Taylor’s home. When those officers broke down the door to the apartment, a guest

in Taylor’s home (K.W.), believing that intruders were breaking in, immediately fired one shot

with a handgun that he lawfully possessed, hitting the first officer at the door. Two LMPD officers

instantly fired a total of 22 shots into the apartment, and one of those shots hit Breonna Taylor in

the chest. A third officer moved from the doorway to the side of the apartment and fired ten more

shots through a window and a sliding glass door, both of which were covered with blinds and

curtains.

       8.      Taylor died from the wound to her chest.

   Paragraphs 1 through 8 are hereby incorporated by reference into the count set forth below.



       The United States further charges that:



                                          COUNT ONE
                                          (Conspiracy)

       Beginning not later than in or around January 2020, and continuing until in or around June

2022, in the Western District of Kentucky and elsewhere, KELLY GOODLETT knowingly and

willfully conspired and agreed with JOSHUA JAYNES, and others known and unknown to the


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United States, to commit offenses against the United States; specifically (1) to knowingly falsify

a warrant affidavit for Breonna Taylor’s home, in violation of 18 U.S.C. § 242; and (2) to

knowingly engage in misleading conduct toward another person, with the intent to hinder, delay,

and prevent the communication of information to a federal law enforcement officer and judge

relating to the commission and possible commission of a federal offense, in violation of 18 U.S.C

§ 1512(b)(3).

                            Manner, Means, and Object of the Conspiracy

   1. One object of the conspiracy was to submit a falsified affidavit in order to obtain a warrant

       to search 3003 Springfield Drive despite lacking probable cause.

   2. It was part of the manner and means of the conspiracy for KELLY GOODLETT and

       JOSHUA JAYNES to put false and misleading information in the Springfield Drive

       warrant affidavit.

   3. Another object of the conspiracy was to cover up, after the shooting, the fact that the

       warrant had been based on information that was false, misleading, stale, and unsupported

       by probable cause.

   4. It was part of the manner and means of the conspiracy for KELLY GOODLETT and

       JOSHUA JAYNES to call, text, and meet with each other to discuss the false information

       in the Springfield Drive warrant affidavit and to coordinate their false cover story in an

       attempt to escape responsibility for their roles in preparing the warrant affidavit that

       contained false information.

   5. It was further part of the manner and means of the conspiracy for KELLY GOODLETT

       and JOSHUA JAYNES to make false and misleading statements during interviews with

       criminal investigators.



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                                               Overt Acts

       In furtherance of the conspiracy, and to accomplish its objectives, KELLY GOODLETT

and her conspirators committed the following overt acts, among others:

   1. On or around March 10 or 11, 2020, JOSHUA JAYNES sent KELLY GOODLETT a

       draft of the Springfield Drive affidavit in which he claimed that he had “verified” from a

       Postal Inspector that J.G. was receiving packages at Taylor’s address.           KELLY

       GOODLETT knew this claim was false because JOSHUA JAYNES had previously told

       her that he had been told that there was no evidence of J.G. receiving packages at

       Springfield Drive. Despite knowing that this allegation was false, KELLY GOODLETT

       failed to change this statement or object to it.

   2. On or around March 10 or 11, 2020, KELLY GOODLETT told JOSHUA JAYNES that

       the Springfield Drive warrant affidavit did not contain enough recent information

       connecting Taylor or her home to criminal activity; she then added a paragraph to the

       affidavit that she knew was misleading, which stated that detectives had “verified” from

       databases that, as of February 20, 2020, J.G. used 3003 Springfield Drive as his “current

       home address.”

   3. On or about May 17, 2020––after media outlets reported that a Postal Inspector had

       announced that J.G. had not received packages at Taylor’s address as alleged in the

       Springfield Drive warrant affidavit––JOSHUA JAYNES texted KELLY GOODLETT

       that a criminal investigator wanted to meet with him the following day and arranged to

       meet with KELLY GOODLETT in JOSHUA JAYNES’S garage that night.

   4. When JOSHUA JAYNES and KELLY GOODLETT met in the garage on the evening of

       May 17, 2020, JOSHUA JAYNES relayed to KELLY GOODLETT that they needed to



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      get on the same page because they could both go down for putting false information in the

      Springfield Drive warrant affidavit.

   5. During the meeting in the garage, JOSHUA JAYNES and KELLY GOODLETT agreed

      to tell investigators a false story, claiming that Sgt. J.M. had told them in January 2020 that

      J.G. was receiving packages at Taylor’s home.

   6. On or about May 19, 2020, two days after the garage meeting, JOSHUA JAYNES falsely

      claimed to investigators with LMPD’s Public Integrity Unit that, in January 2020, Sgt. J.M.

      had told him and KELLY GOODLETT “nonchalantly” that “your guy [J.G.] just gets

      Amazon or mail packages there [at Taylor’s home].”

   7. On or about August 12, 2020, KELLY GOODLETT falsely told investigators with the

      Kentucky Office of the Attorney General that, in January 2020, “[J.M.] in passing” had

      told KELLY GOODLETT and JOSHUA JAYNES that he “verified [J.G.] was getting

      packages there [at Taylor’s home].”

   8. On or about June 14, 2022, during an interview with agents with the Federal Bureau of

      Investigation, JOSHUA JAYNES falsely claimed that, in January 2020, Sgt. J.M. “made a

      nonchalant comment” that J.G. was getting “mail or Amazon packages” at Taylor’s home.

      All in violation of Title 18, United States Code, Section 371.


KRISTEN CLARKE
ASSISTANT ATTORNEY GENERAL
CIVIL RIGHTS DIVISION


By: /s/ Michael J. Songer
MICHAEL J. SONGER
ANNA GOTFRYD
TRIAL ATTORNEYS
CIVIL RIGHTS DIVISION

ZACHARY DEMBO

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                                                           PENALTIES

Count: NM yrs./$/both/NM yrs. Supervised Release


                                                              NOTICE

ANY PERSON CONVICTED OF AN OFFENSE AGAINST THE UNITED STATES SHALL BE SUBJECT TO SPECIAL
ASSESSMENTS, FINES, RESTITUTION & COSTS.

SPECIAL ASSESSMENTS

18 U.S.C. § 3013 requires that a special assessment shall be imposed for each count of a conviction of offenses committed after
November 11, 1984, as follows:

          Misdemeanor:         $ 25 per count/individual                  Felony:         $100 per count/individual
                               $125 per count/other                                       $400 per count/other

FINES

In addition to any of the above assessments, you may also be sentenced to pay a fine. Such fine is due immediately unless the court
issues an order requiring payment by a date certain or sets out an installment schedule. You shall provide the United States Attorney's
Office with a current mailing address for the entire period that any part of the fine remains unpaid, or you may be held in contempt of
court. 18 U.S.C. § 3571, 3572, 3611, 3612

Failure to pay fine as ordered may subject you to the following:

          1.   INTEREST and PENALTIES as applicable by law according to last date of offense.

                     For offenses occurring after December 12, 1987:

                     No INTEREST will accrue on fines under $2,500.00.

                     INTEREST will accrue according to the Federal Civil Post-Judgment Interest Rate in effect at
                     the time of sentencing. This rate changes monthly. Interest accrues from the first business day
                     following the two week period after the date a fine is imposed.

                     PENALTIES of:

                     10% of fine balance if payment more than 30 days late.

                     15% of fine balance if payment more than 90 days late.

          2.         Recordation of a LIEN shall have the same force and effect as a tax lien.

          3.         Continuous GARNISHMENT may apply until your fine is paid.

          18 U.S.C. §§ 3612, 3613

                     If you WILLFULLY refuse to pay your fine, you shall be subject to an ADDITIONAL FINE
                     of not more than the greater of $10,000 or twice the unpaid balance of the fine; or
                     IMPRISONMENT for not more than 1 year or both. 18 U.S.C. § 3615
RESTITUTION

If you are convicted of an offense under Title 18, U.S.C., or under certain air piracy offenses, you may also be ordered to make
restitution to any victim of the offense, in addition to, or in lieu of any other penalty authorized by law. 18 U.S.C. § 3663

APPEAL

If you appeal your conviction and the sentence to pay your fine is stayed pending appeal, the court shall require:

          1.         That you deposit the entire fine amount (or the amount due under an installment schedule
                     during the time of your appeal) in an escrow account with the U.S. District Court Clerk, or

          2.         Give bond for payment thereof.

          18 U.S.C. § 3572(g)

PAYMENTS

If you are ordered to make payments to the U.S. District Court Clerk's Office, certified checks or money orders should be made payable
to the Clerk, U.S. District Court and delivered to the appropriate division office listed below:

                     LOUISVILLE:                      Clerk, U.S. District Court
                                                      106 Gene Snyder U.S. Courthouse
                                                      601 West Broadway
                                                      Louisville, KY 40202
                                                      502/625-3500

                     BOWLING GREEN:                   Clerk, U.S. District Court
                                                      120 Federal Building
                                                      241 East Main Street
                                                      Bowling Green, KY 42101
                                                      270/393-2500

                     OWENSBORO:                       Clerk, U.S. District Court
                                                      126 Federal Building
                                                      423 Frederica
                                                      Owensboro, KY 42301
                                                      270/689-4400

                     PADUCAH:                         Clerk, U.S. District Court
                                                      127 Federal Building
                                                      501 Broadway
                                                      Paducah, KY 42001
                                                      270/415-6400

If the court finds that you have the present ability to pay, an order may direct imprisonment until payment is made.
ASSISTANT UNITED STATES ATTORNEY
EASTERN DISTRICT OF KENTUCKY

ATTORNEYS FOR THE UNITED STATES, ACTING UNDER
AUTHORITY CONFERRED BY 28 U.S.C. § 515




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